     Case 1:25-cv-00200-MAD-ML             Document 1        Filed 02/10/25      Page 1 of 7




                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK


HHF Collective, LLC

                      Plaintiff,
                                                       Civil Action No: 1:25-CV-0200 (MAD/ML)
       v.
                                                       JURY TRIAL DEMANDED
Devora Enterprise L.L.C. d/b/a De’Vora,

                      Defendants.


       Plaintiff HHF Collective LLC (“Plaintiff” or “HHF”), by and through its undersigned

counsel, for its Complaint against Devora Enterprise L.L.C. d/b/a De’Vora (“Defendant”), alleges

as follows:

                                   NATURE OF THE ACTION

       1.      This is an action arising under the patent laws of the United States, Title 35, United

States Code, and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202. HHF seeks a

declaratory judgment that its “Dog Nail Scratch Board” product does not infringe U.S. Patent No.

11,930,789 (“the ’789 Patent”) purportedly owned or controlled by Defendant. Plaintiff further

brings supplemental state law claims for damages resulting from Defendant’s wrongful complaint

to Amazon, which caused the suspension of Plaintiff’s product listing and consequent lost sales.

                                            PARTIES

       2.      Plaintiff HHF Collective LLC is a limited liability company organized and existing

under the laws of New York, with a principal place of business located at 8 Frederick Place,

Delmar, New York 12054. Plaintiff is engaged in the business of selling pet grooming and related

products, including the accused Dog Nail Scratch Board (“Accused Product”).




                                                 1
      Case 1:25-cv-00200-MAD-ML              Document 1        Filed 02/10/25         Page 2 of 7




       3.      Upon information and belief, Defendant Devora Enterprise L.L.C. is a limited

liability company organized and existing under the laws of New Jersey having a principal place of

business at 145 E. Delilah Rd, Pleasantville, New Jersey 08232. Defendant claims to own or

control the ’789 Patent and is the party who filed a complaint against the Accused Product listing

on Amazon.com, causing it to be suspended.

                                 JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction over the declaratory judgment claim

pursuant to 28 U.S.C. §§ 1331, 1338(a), and 2201, as it arises under the patent laws of the United

States and seeks a determination of rights under a U.S. patent.

       5.      This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367, as those claims form part of the same case or controversy and share a common

nucleus of operative facts with Plaintiff’s federal declaratory judgment claim.

       6.      This Court has personal jurisdiction over Defendant under New York CPLR

§§ 302(a)(1), (a)(2), (a)(3)(i) and/or (a)(3)(ii) because, on information and belief, Defendant

transacts business in this District, has directed accusations of infringement into this District, and

has caused harm to Plaintiff in this District by causing Amazon.com to suspend Plaintiff’s product

listing, thereby foreclosing sales to customers within this District.

       7.      Venue is proper in this District under 28 U.S.C. § 1391(b) and (c) because, on

information and belief, Defendant is subject to personal jurisdiction in this District and a

substantial part of the events giving rise to the claims occurred in this District.




                                                   2
      Case 1:25-cv-00200-MAD-ML              Document 1        Filed 02/10/25       Page 3 of 7




                                   FACTUAL BACKGROUND

A.      The ’789 Patent and the Accused Product

        8.      Defendant purports to own or control the ’789 Patent, titled “Pet Toy”, which

claims a pet toy having particular structural features, including at least one handle made of elastic

material, scent cavities, and a guard projection preventing abrasive material from contacting a flat

surface.

        9.      Plaintiff sells a “Dog Nail Scratch Board” product (ASIN: B0DB9Q5GDJ)

designed as a pet grooming tool to help pets naturally file their nails. It includes an abrasive surface

on which a pet can scratch its nails. It does not, however, include the claimed scent cavities, elastic

handles with grooves, or guard projections as described and claimed in the ’789 Patent.

        10.     Plaintiff has carefully analyzed the claims of the ’789 Patent and compared them to

the structure and function of its Dog Nail Scratch Board. This analysis confirms that the accused

product does not incorporate all of the elements of any independent claim of the ’789 Patent, and

therefore does not literally infringe the ’789 Patent.

        11.     Plaintiff’s product also does not perform substantially the same function in

substantially the same way to achieve substantially the same result as the patented invention. The

differences are not insubstantial. Accordingly, Plaintiff’s product does not infringe under the

doctrine of equivalents.

        12.     On or about October 21, 2024, Defendant filed a complaint with Amazon.com

(Complaint ID: 16509328131) alleging that Plaintiff’s Dog Nail Scratch Board infringes the ’789

Patent. As a result, Amazon.com suspended the listing for Plaintiff’s product, causing Plaintiff to

lose sales and suffer irreparable harm to its marketplace reputation.




                                                   3
      Case 1:25-cv-00200-MAD-ML              Document 1       Filed 02/10/25      Page 4 of 7




B.     Plaintiff’s Demand for Withdrawal and Notice of Non-Infringement

       13.      On November 22, 2024, Plaintiff, through its counsel, sent Defendant a letter (the

“November 22nd Letter”) explaining that the Dog Nail Scratch Board does not infringe the ’789

Patent. The letter requested that Defendant immediately withdraw its Amazon complaint. A copy

of the November 22nd Letter is attached as Exhibit A hereto.

       14.      The November 22nd Letter identified numerous claim elements present in the ’789

Patent that are absent from Plaintiff’s product, including:

             a. circular scent cavities configured to receive a scent material

             b. handles or handles with grooves designed for pet teeth cleaning

             c. guard projection extending perpendicularly from the pad surface.

       15.      Despite these clear differences, Defendant has failed to withdraw the Amazon

complaint. As a result, Plaintiff’s listing remains suspended, and Plaintiff continues to suffer lost

sales and damage to its business.

       16.      On or about December 6, 2024, Plaintiff sent a follow-up letter (the “December 6th

Letter”), again warning that failure to withdraw the complaint would leave Plaintiff no choice but

to take legal action. A copy of the December 6th Letter is attached as Exhibit B hereto.

       17.      On or about December 28, 2024, Plaintiff sent a final email to Defendant with a

copy of the December 6th Letter (the “December 28, 2024 Email”), again warning that failure to

withdraw the complaint would leave Plaintiff no choice but to take legal action. A copy of the

December 28, 2024 Email is attached as Exhibit C.

       18.      Defendant responded to the December 28th Email on December 29, 2024, but

continues to maintain infringement by the Accused Product of the ‘789 Patent and refuses to

withdraw the Amazon Complaint.


                                                  4
      Case 1:25-cv-00200-MAD-ML             Document 1        Filed 02/10/25       Page 5 of 7




        19.     Accordingly, an actual and justiciable case or controversy exists between Plaintiff

and Defendant.

          COUNT I: DECLARATORY JUDGMENT OF NON-INFRINGEMENT
                        OF U.S. PATENT NO. 11,930,789

        17.     Plaintiff re-alleges and incorporates by reference the foregoing paragraphs as if

fully set forth herein.

        18.     An actual and justiciable controversy exists between Plaintiff and Defendant

regarding whether the Accused Product infringes the ’789 Patent. Defendant has accused

Plaintiff’s product of infringement, causing Amazon to remove Plaintiff’s listing of the Accused

Product, and has refused to withdraw that accusation despite being presented with evidence of

non-infringement.

        19.     The Accused Product does not meet every limitation of any claim of the ’789

Patent, nor is it substantially equivalent to the claimed invention under the doctrine of equivalents.

        20.     Plaintiff seeks a declaratory judgment under 28 U.S.C. § 2201 that its product does

not infringe the ’789 Patent, either literally or under the doctrine of equivalents.

                    COUNT II: TORTIOUS INTERFERENCE
          WITH PROSPECTIVE ECONOMIC ADVANTAGE (COMMON LAW)

        21.     Plaintiff re-alleges and incorporates by reference the foregoing paragraphs as if

fully set forth herein.

        22.     Plaintiff had a reasonable expectation of economic advantage in the continued sale

of the Accused Product on Amazon.com. Plaintiff’s Amazon listing was generating steady sales

and a growing customer base.




                                                  5
      Case 1:25-cv-00200-MAD-ML             Document 1          Filed 02/10/25   Page 6 of 7




       23.     Defendant wrongfully filed a complaint with Amazon alleging that the Accused

Product infringed the ’789 Patent, without a good faith basis and with knowledge that the Accused

Product did not infringe.

       24.     As a direct and proximate result of Defendant’s wrongful filing, Amazon removed

Plaintiff’s listing of the Accused Product, thereby preventing Plaintiff from selling its product and

depriving Plaintiff of anticipated revenues and profits.

       25.     Defendant’s actions were intentional, willful, and designed to prevent or interfere

with Plaintiff’s prospective economic advantage. Defendant’s interference was without

justification, as there was no legitimate infringement claim.

       26.     Plaintiff has suffered damages, including lost sales, loss of goodwill, and other

harm as a direct result of Defendant’s tortious interference.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment in its favor and against Defendant as follows:

A.     A declaration that the Accused Product does not infringe U.S. Patent No. 11,930,789, either

       literally or under the doctrine of equivalents.

B.     An order compelling Defendant to promptly request withdrawal of its Amazon complaint

       and to take all necessary steps to restore Plaintiff’s listing for the Accused Product (ASIN:

       B0DB9Q5GDJ).

C.     Damages in an amount to be determined at trial, including but not limited to compensatory

       damages for lost sales and profits resulting from the wrongful suspension of Plaintiff’s

       Amazon listing.

D.     Pre- and post-judgment interest at the maximum rate allowed by law.




                                                 6
      Case 1:25-cv-00200-MAD-ML             Document 1        Filed 02/10/25   Page 7 of 7




E.     An award of Plaintiff’s costs and reasonable attorneys’ fees in this action, to the extent

       permitted by law.

F.     Such other and further relief as the Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury on all issues so triable.




Dated: February 10, 2025

Respectfully submitted,

/s/ Thomas L. Sica
Thomas L. Sica
Heslin Rothenberg Farley & Mesiti P.C.
5 Columbia Circle
Albany, NY 12203
Telephone: 518-452-5600
Email: Thomas.sica@hrfmlaw.com


/s/ Frank W. Compagni
Frank W. Compagni
Utah Bar No. 7174
Morriss O’Bryant Compagni Cannon, PLLC
4505 S. Wasatch Blvd., Ste 270
Salt Lake City, Utah 84124
Telephone: 801-478-0071
Email: fcompagni@mocclaw.com

Attorneys for Plaintiff HHF Collective LLC




                                                  7
